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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



CLIMATE UNITED FUND
                Plaintiff,

v.                                                   Civil Action No. 1:25-cv-00698

CITIBANK, N.A., et al.,

                Defendants.


                       NOTICE OF GRANT TERMINATION

       Defendants the United States Environmental Protection Agency (“EPA”) and Lee

Zeldin, in his official capacity as EPA Administrator, notify the Court that on March 11,

2025, at approximately 6:22 p.m., the EPA notified Plaintiff, Climate United Fund, that

EPA has terminated Grant No. 84094001, for which Climate United Fund is the recipient,

along with other National Clean Investment Fund grants. A copy of the letter sent to

Climate United Fund is attached as Exhibit 1.
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Dated: March 11, 2025              Respectfully submitted,

                                   YAAKOV ROTH
                                   Acting Assistant Attorney General

                                   KIRK T. MANHARDT
                                   Director

                                   /s/ Marc S. Sacks
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                                   Deputy Director
                                   KEVIN P. VANLANDINGHAM (NY Reg
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